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Jury Instructions
1:11-ev-5223

Securities and Exchange Commission v. Ferrone et al

FILED
APR 29 2016

MAGISTRATE JUDGE
JEFFREY T. GILBERT

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Members of the jury, you have seen and heard the evidence and the lawyers’ arguments.
Now I will instruct you on the law.

You have two duties as a jury. Your first duty is to decide the facts from the evidence in
the case. This is your job, and yours alone.

Your second duty is to apply the law that I give you to the facts. You must follow my
instructions about the law, even if you disagree with them. Each of the instructions is important,
and you must follow all of them.

You must perform both of your duties fairly and impartially.

Nothing I say now, and nothing I said or did during the trial, is, or was, meant to indicate

any opinion on my part about what the facts are or about what your verdict should be.

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During this trial, I have asked questions of witnesses. Do not assume that, because I
asked questions, I hold any opinion on the matters I asked about, or on what the outcome of the

case should be.

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As you know, the Plaintiff in this case is the Securities and Exchange Commission, which
I will refer to as the SEC, and the Defendant in this case is Stephen Ferrone, who I will refer to
as Mr. Ferrone. The SEC is an agency of the federal government. Mr. Ferrone is a private
citizen.

All parties are equal before the law. And all parties in this case are entitled to the same

fair consideration.

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In reaching your verdict you must consider only the evidence. The evidence in this case
consists of the testimony of the witnesses, the exhibits admitted in evidence, and the stipulations

already read to you.

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In determining whether any fact has been proved, you should consider all of the evidence

bearing on the question, regardless of who introduced the evidence.

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When I first instructed you, I told you about the phrases “direct evidence” and
“circumstantial evidence.” I will say a few words about these phrases to remind you what they
mean.

Direct evidence is proof that does not require an inference. An example of direct
evidence is a witness’s testimony about what he or she personally saw, did, or heard. In other
words, it is the testimony of someone who claims to have personal knowledge of a fact. For
instance, if a witness were to say, “I was outside yesterday, and I saw it raining,” that would be
direct evidence that it was raining yesterday.

Circumstantial evidence, on the other hand, is proof of a fact, or a series of facts, that
tends to show that some other fact is true. For instance, if a witness were to say, “I was standing
in the lobby of my apartment building yesterday, and I saw a woman enter the building with a
wet umbrella in her hand,” that would be circumstantial evidence that it was raining yesterday.

In reaching your verdict, you must consider all the evidence, both direct and
circumstantial, in the case. The law makes no distinction between the weight to be given to
direct or circumstantial evidence. It is the responsibility of you, the jury, to decide how much

weight to give any evidence in the case.

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As I just stated, you are to consider only the evidence in this case when reaching your
verdict. However, you should consider the evidence in light of your own observations in life.
Further, in weighing the evidence, you should use your common sense.

One of the important ways that you use common sense in everyday life is by drawing
inferences. That is, you often look at one fact and conclude from it that another fact exists. Here
is an example. Imagine that you are driving on the highway, and you pass a car that is stopped
on the shoulder of the road. You see that there is a tow truck in front of the car, and that the tow
truck driver is hooking the car up to the tow truck. From these facts, you may reasonably infer
the car being towed cannot be operated safely at that time. You might draw this reasonable
inference even though no one has actually told you whether the car can operate safely. That may
not be the only inference that could be drawn from the observed scene, but it is one reasonable
inference that could be drawn.

When reaching your verdict, you are allowed to make such inferences by drawing from
your observations in life and using your common sense. But any inference you make must be

reasonable and must be based on the evidence in the case.

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As described previously, the evidence in this case consists of the testimony of the
witnesses, the exhibits admitted in evidence, and the stipulations already read to you.

I want to tell you a few things that are not evidence. This is not an exhaustive list of all
that is not evidence. Rather, at this time, I will only mention three things that are not evidence.

First, if I told you to disregard any testimony or exhibits, or if I struck any testimony or
exhibits from the record, such testimony or exhibits are not evidence and must not be considered.

Second, anything that you saw or heard outside the courtroom is not evidence and must
be entirely disregarded.

Third, nothing said by the lawyers is evidence. What the lawyers said during opening
statements and closing arguments is not evidence. What the lawyers said when objecting is not
evidence. And all other comments that the lawyers made during the trial are not evidence.

Because these three things are not evidence, you must not consider them in reaching your

verdict. As I sated earlier, in reaching your verdict, you must consider only the evidence.

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Any notes you have taken during this trial are only aids to your memory. The notes are
not evidence. If you have not taken notes, you should rely on your independent recollection of
the evidence and not be unduly influenced by the notes of other jurors. Notes are not entitled to

any greater weight than each juror’s own recollection or impression of the evidence.

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During the course of this trial, I instructed you that I admitted certain evidence for a
limited purpose. You must consider that evidence only for the limited purpose for which I

admitted it. You must not consider it for any other purpose.

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Certain documents have been admitted into evidence in this case that contain portions
that are blacked out, or “redacted.” These redactions occurred because the Court and the parties
determined that it was not appropriate to introduce those portions of the documents into
evidence.

You must not consider the redacted portions of these documents for any reason. You
should consider the unredacted portions of any redacted documents just as you would any other

documentary evidence.

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You must decide whether the testimony of each of the witnesses is truthful and accurate,
in part, in whole, or not at all. You also must decide what weight, if any, you give to the
testimony of each witness.

In evaluating the testimony of any witness, including any party to the case, you may

consider, among other things:

the ability and opportunity the witness had to see, hear, or know the things that
the witness testified about;

- the witness’s memory;

- any interest, bias, or prejudice the witness may have;
- the witness’s intelligence;

- the manner of the witness while testifying;

- the witness’s age;

- and the reasonableness of the witness’s testimony in light of all the evidence in
the case.

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During the trial, certain testimony was presented to you by the reading of depositions and
the playing of a video deposition. This deposition testimony is entitled to the same consideration
that you would have given it had the witnesses appeared and testified here in court. That means
the deposition testimony should be judged, insofar as possible, in the same way as you would

have judged it if the witnesses had been present and testified from the witness stand.

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You may consider statements given by a party or a witness under oath before trial as
evidence of the truth of what he or she said in the earlier statement, as well as in deciding what
weight to give his or her testimony.

In considering a prior inconsistent statement, you should consider whether it was simply
an innocent error or an intentional falsehood and whether it concerns an important fact or an

unimportant detail.

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Evaluating the testimony of witnesses is not just a mathematical exercise. You are not
required to find that a fact does or does not exist just because more witnesses testified that it does
or does not exist. It is your responsibility, and yours alone, to decide what weight to give each

witness’s testimony.

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The law does not require a party to call as a witness every person who might have
knowledge of the facts related to this trial. Similarly, the law does not require a party to present

as exhibits all papers and things mentioned during this trial.

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Certain charts, graphs, timelines, and PowerPoint slides have been shown to you. These
visual aids were used for convenience and to help explain the facts of the case. They are not
themselves evidence or proof of any facts.

Exhibits 205 and 206 are in evidence.

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This case involves three claims, which I soon will describe to you in more detail.

You must give separate consideration to each claim in this case.

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Before I instruct you on the specific claims involved in this case, I want to tell you about
the standard of proof that applies to all of the claims.

This is a civil case. In a civil case, the plaintiff has the burden of proving its case by what
is called “a preponderance of the evidence.” The preponderance of the evidence standard is
satisfied if, after considering all of the evidence in the case, you are persuaded that something is
more probably true than not true.

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When I say that a party must “prove,” “show,” or “establish” something, I am referring to
the preponderance of the evidence standard. I also am referring to that standard whenever I use

phrases such as “if you find” and “if you decide.”

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The SEC alleges three claims against Mr. Ferrone.
Mr. Ferrone denies each and every claim against him.
I will now explain to you what the SEC must prove in order to prevail on each of its

claims.

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Claim I: Section 10(b) of the Exchange Act and Rule 10b-5

The SEC’s first claim is that Mr. Ferrone violated Section 10(b) of the Exchange Act and
Rule 10b-5 by making untrue statements of material fact and/or omitting to state material facts in
connection with the purchase or sale of a security.

To prove that Mr. Ferrone violated Section 10(b) and Rule 10b-5, the SEC must prove by
a preponderance of the evidence each of the following four elements.

First, the SEC must prove that Mr. Ferrone directly or indirectly did one or more of the
following fraudulent acts:

° employed a device, scheme, or artifice to defraud;

e made an untrue statement of a material fact or omitted to state a material fact
necessary in order to make a statement made, in light of the circumstances under
which it was made, not misleading; or

e engaged in any act, practice, or course of business which operated or would
operate as a fraud or deceit upon any person.

Second, the SEC must prove that Mr. Ferrone acted knowingly or with reckless disregard

for the truth.

Third, the SEC must prove that Mr. Ferrone’s conduct occurred in connection with the
purchase or sale of a security.

Fourth, the SEC must prove that Mr. Ferrone used or caused to be used the mails or the
means and instrumentalities of interstate commerce, including a facility of a national securities
exchange.

If you find that the SEC has proven each of these four elements by a preponderance of

the evidence, then your verdict should be in favor of the SEC on this claim. If, on the other

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hand, you find that the SEC has failed to prove any of these elements by a preponderance of the
evidence, then your verdict should be in favor of Mr. Ferrone on this claim.

I will now explain some of these concepts to you in more detail.

First Element: Materially Fraudulent Acts

A device, scheme, or artifice to defraud is a plan for the accomplishment of any
objective. Fraud is a general term that embraces all ingenious efforts and means that individuals
devise to take advantage of others. As previously described, the law which Mr. Ferrone is
alleged to have violated prohibits all kinds of manipulative and deceptive acts.

To prove that Mr. Ferrone employed a device, scheme, or artifice to defraud, the SEC
may prove that Mr. Ferrone has engaged in conduct that had the principal purpose and effect of
creating a false appearance of fact in furtherance of a scheme. It is not enough that a transaction
in which Mr. Ferrone was involved had a deceptive purpose and effect; Mr. Ferrone’s own
conduct that contributed to the transaction or overall scheme must have had a deceptive purpose.
A device, scheme or artifice to defraud element may be satisfied by making material
misrepresentations or omissions, as described below.

The SEC also can prove that Mr. Ferrone committed a fraudulent act by showing that he
made an untrue statement of a material fact or omitted to state a material fact necessary in order
to make a statement made, in light of the circumstances under which it was made, not
misleading. The SEC need not prove that Mr. Ferrone personally made the misrepresentation of
a material fact or that he personally omitted a material fact. It is sufficient if the SEC establishes
that Mr. Ferrone caused the statement to be made or the fact to be omitted. One of the ways the

SEC can prove that Mr. Ferrone caused a statement to be made is by showing that he had

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ultimate authority over the statement, including its content and whether and how to communicate
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The SEC must prove that any misrepresentation was untrue at the time that it was made,
and that any omission made another statement misleading at the time that the omission occurred.

The SEC must prove that any misrepresentation or omission involved a fact that was
material. To show that a stated or omitted fact is “material,” the SEC must prove that there is a
substantial likelihood that a reasonable investor would consider the fact important in making an
investment decision and would view the fact as having significantly altered the total mix of
information made available. You must decide whether something was material based on the
circumstances that existed at the time of the statement or omission.

The SEC need not prove that Mr. Ferrone made more than one material misstatement or
omission. The SEC also need not prove that any particular purchaser or seller of securities
actually relied on any alleged material misrepresentations or omissions made by Mr. Ferrone.

Second Element: State of Mind

As I stated earlier, the second element of this claim requires that the SEC prove Mr.
Ferrone acted “knowingly” or with “reckless disregard for the truth.” This is sometimes referred
to as the required state of mind, or “scienter.” It is not enough to show that Mr. Ferrone acted
accidentally, merely made a mistake, or engaged in negligent conduct. Rather, the SEC must
prove that Mr. Ferrone acted with a mental state embracing intent to deceive, manipulate, or
defraud.

To act “knowingly” means to act intentionally and deliberately, rather than mistakenly or

inadvertently.

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To act with “reckless disregard for the truth” means to engage in highly unreasonable
conduct that involves an extreme departure from the standards of ordinary care and presents a
risk that either is known to a defendant or is so obvious that a defendant must be aware of it.

Third Element: In Connection with the Purchase or Sale of a Security

As I stated earlier, the third element of this claim requires that the SEC prove that Mr.
Ferrone’s conduct occurred in connection with the sale or purchase of a security. The “in
connection with” requirement is satisfied if you find that there was any connection or relation
between the allegedly fraudulent conduct and the sale or purchase of securities. Fraudulent
conduct may be in connection with the sale or purchase of securities if you find that the alleged
fraudulent conduct “touched upon” a securities transaction.

Fourth Element: Interstate Commerce

As I stated earlier, the fourth element of this claim requires that the SEC prove that Mr.
Ferrone, in connection with the allegedly fraudulent conduct, used or caused to be used the mails
or the means and instrumentalities of interstate commerce, including a facility of a national

securities exchange.

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You have heard testimony and seen exhibits concerning whether lawyers received or
reviewed Immunosyn’s public filings and press releases before they were filed or issued. Mr.
Ferrone is not asserting as a defense that he requested, received, or relied on specific advice
provided by lawyers about Immunosyn’s public filings or press releases. Therefore, reliance on
advice provided by lawyers is not a defense in this case. Evidence that lawyers may have
received or reviewed documents was admitted only for the effect, if any, it may have had on Mr.
Ferrone’s state of mind, that is whether Mr. Ferrone did or did not knowingly or recklessly cause
false statements or omissions of material fact to be made, as I have just defined those terms for

you.

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Claim II: Rule 13a-14 of the Exchange Act

The SEC’s second claim is that Mr. Ferrone violated Rule 13-a-14 of the Exchange Act.
This rule requires the principal executive officer of a public company to provide certain truthful
certifications in connection with a company’s annual and quarterly reports filed with the SEC.

The certifications at issue in this case are contained in some of Immunosyn’s annual
reports on Forms 10-K and quarterly reports on Forms 10-Q. The Forms 10-K at issue are those
for 2007 and 2008 (which were filed in 2008 and 2009, respectively). The Forms 10-Q at issue
are those for the third 2007 fiscal quarter, the second and third 2008 fiscal quarters, and the
second and third 2009 fiscal quarters. All of these Forms 10-K and Forms 10-Q were furnished
to the SEC with certifications by Mr. Ferrone, as president and CEO of Immunosyn.

There are two certifications in these Forms 10-K and Forms 10-Q that the SEC alleges
were false or misleading. First, Mr. Ferrone certified in these forms that, based on his own
knowledge, the reports did not contain any untrue statement of material fact or omit to state a
material fact necessary to make the statements made not misleading. Second, Mr. Ferrone
certified in these forms that, based on his own knowledge, the financial statements and other
financial information included in the reports fairly presented in all material respects
Immunosyn’s financial condition, results of operations, and cash flows.

You should consider each statement in the certifications that the SEC alleges was false or
misleading in order to determine whether Mr. Ferrone violated Rule 13a-14.

To prove a violation of Rule 13-a-14 of the Exchange Act, the SEC must prove by a
preponderance of the evidence each of the following two elements.

First, the SEC must prove that Mr. Ferrone filed or caused to be filed the certification.

Second, the SEC must prove that the certification was false or misleading.

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If you find that the SEC has proven each of these two elements by a preponderance of the
evidence, then your verdict should be in favor of the SEC on this claim. If, on the other hand,
you find that the SEC has failed to prove either of these elements by a preponderance of the

evidence, then your verdict should be in favor of Mr. Ferrone on this claim.

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Claim III: Section 13(a) of the Exchange Act
and Rules 12b-20, 13a-1, 13a-11, and 13a-13

The SEC’s third claim is that Mr. Ferrone aided and abetted violations of Section 13(a) of
the Exchange Act and Rules 12b-20, 13a-1, 13a-11, and 13a-13. These provisions require public
reporting companies to file with the SEC annual reports on Forms 10-K, quarterly reports on
Forms 10-Q, and current reports on Forms 8-K. These provisions also require that the reports
include statements providing certain information. Finally, these provisions require that the
reports be factually accurate, and that the reports not omit material information necessary to
make the required statements, in light of the circumstances under which they are made, not
misleading. These provisions may be violated by aiding and abetting a company’s filing of false
annual, quarterly, and current reports with the SEC.

To prove that Mr. Ferrone violated Section 13(a) of the Exchange Act and Rules 12b-20,
13a-1, 13a-11, and 13a-13, the SEC must prove by a preponderance of the evidence each of the
following three elements.

First, the SEC must prove that Immunosyn filed an annual, quarterly, or current report
with the SEC that contained a materially misleading statement or omission.

Second, the SEC must prove that Mr. Ferrone generally was aware or knew that his
actions were part of an overall course of conduct that was improper or illegal.

Third, the SEC must prove that Mr. Ferrone substantially assisted Immunosyn’s filing of
a materially misleading report.

If you find that the SEC has proven each of these three elements by a preponderance of
the evidence, then your verdict should be in favor of SEC on this claim. If, on the other hand,
you find that the SEC has failed to prove any of these elements by a preponderance of the

evidence, then your verdict should be in favor of Mr. Ferrone on this claim.

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I will now explain some of these concepts to you in more detail.

I have previously instructed you on what the SEC must show to prove that something is
material. “Material” has the same meaning with respect to this claim. That is, to show that a
stated or omitted fact is material, the SEC must prove that there is a substantial likelihood that a
reasonable investor would consider the fact important in making an investment decision and
would view the fact as having significantly altered the total mix of information made available.

The SEC may prove the second element — that Mr. Ferrone acted with general awareness
or knowledge — by showing that Mr. Ferrone’s conduct was reckless. That is, the SEC may
satisfy its burden by proving that Mr. Ferrone’s conduct constituted highly unreasonable
omissions or misrepresentations that involved not merely simple or even inexcusable negligence,
but rather an extreme departure from the standards of ordinary care where the danger of
misleading buyers or sellers was either known to Mr. Ferrone or so obvious that Mr. Ferrone
must have been aware of it.

The SEC can prove the third element — that Mr. Ferrone provided substantial assistance —
by showing that Mr. Ferrone engaged in affirmative conduct that assisted Immunosyn’s filing of
an annual, quarterly, or current report with the SEC that contained a materially misleading
statement or omission. The SEC also can prove that Mr. Ferrone provided substantial assistance
by showing that he remained silent or inactive with the conscious intent to aid Immunosyn’s
filing of a materially misleading report. To prove that Mr. Ferrone provided substantial
assistance, the SEC must show that his affirmative conduct, silence, or inaction was a substantial
causal factor in Immunosyn’s filing of a materially misleading report. The SEC need not prove

that Mr. Ferrone’s assistance was the only cause of the violation.

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Upon retiring to the jury room, you must select a presiding juror. The presiding juror will
preside over your deliberations and will be your representative here in court.

A verdict form has been prepared for you.

[Verdict form read. ]

Take this form to the jury room, and when you have reached unanimous agreement on the

verdict, your presiding juror will fill in and date the form, and all of you will sign it.

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I do not anticipate that you will need to communicate with me. If you do need to
communicate with me, you must do so in writing. The writing must be signed by the presiding
juror, or, if he or she is unwilling to do so, by another juror. The writing should be given to the
court security officer, who will give it to me. I will respond either in writing or by having you
return to the courtroom so that I can respond orally.

If you do communicate with me, you never should indicate what your numerical division

is. In other words, never tell me, for instance, that you are split 5-3.

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The verdicts must represent the considered judgment of each juror. Your verdicts,
whether for or against the parties, must be unanimous. You should make every reasonable effort
to reach a verdict.

In doing so, each of you should consult with one another, express your own opinions, and
listen to your fellow jurors’ opinions. You should discuss your differences with an open mind.
You should not hesitate to reexamine your own opinions and to change your opinion if you come
to believe it is wrong.

However, you never should surrender your honest beliefs about the weight or effect of
evidence solely because of other jurors’ opinions or your desire to reach a unanimous verdict.

All of you should give fair and equal consideration to all the evidence and deliberate with
the goal of reaching an agreement that is consistent with the individual judgment of each juror.

You are impartial judges of the facts.

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